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                                                                                                      United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                            January 16, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

                                                         §
In re:                                                   §        Chapter 11
                                                         §
CORE SCIENTIFIC, INC., et al.,                           §        Case No. 22-90341 (CML)
                                                         §
                                                         §        (Jointly Administered)
                    Debtors. 1                           §
                                                         §

          ORDER GRANTING DEBTORS’ EMERGENCY MOTION FOR ORDER
    (I) AUTHORIZING AND APPROVING SETTLEMENT AMONG DEBTORS, SPHERE
                 3D CORP., AND GRYPHON DIGITAL MINING INC.
                     AND (II) GRANTING RELATED RELIEF
                       [Relates to Motion at Docket No. 1663]

                    On January 2, 2024, Core Scientific, Inc. and its debtor affiliates, as debtors and

debtors in possession (collectively, the “Debtors”) filed a motion (the “Motion”) 2 and requested

this Court to (i) approve and authorize the Debtors’ entry into a settlement among the Debtors,

Sphere 3D Corp. (“Sphere”), and Gryphon Digital Mining, Inc. (“Gryphon” and together with

the Debtors and Sphere, the “Parties”), on the terms set forth and agreed to by the Parties set forth

in the Motion and in the Settlement Term Sheet, dated December 21, 2023 (the “Term Sheet”)

attached to this Order as Exhibit 1; and (ii) granting related relief, as more fully set forth in the

Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §1334; and consideration of the Motion and its accompanying declaration;


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (6074); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific
    Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC
    (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions,
    VII, LLC (3198). The Debtors’ corporate headquarters is 210 Barton Springs Road, Suite 300, Austin, Texas 78704.
    The Debtors’ service address is 2407 S. Congress Ave, Suite E-101, Austin, Texas 78704.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
    Sphere and Gryphon agree with the relief requested in the Motion, but reserve all rights as to the factual assertions
    regarding the disputes between any and all Parties set forth therein.
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and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing

that venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper

notice of the Motion having been provided, and it appearing that no other or further notice need

be provided; and the Court having reviewed the Motion; and all objections, if any, to the Motion

having been withdrawn, resolved, or overruled; and the Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and it

appearing that the relief requested in the Motion is in the best interest of the Debtors and their

respective estates and creditors; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing,

                    IT IS HEREBY ORDERED THAT:

                    1.       Pursuant to Bankruptcy Rule 9019 and section 105(a) of the Bankruptcy

Code, the settlement among the Debtors, Sphere, and Gryphon (the “Core-Sphere-Gryphon

Settlement”), on the terms set forth and agreed to in the Term Sheet and restated herein, is

authorized and approved.

                    2.       The Core-Sphere-Gryphon Settlement is the product of extensive, good

faith, arms’-length negotiations between the Parties and their respective representatives.

                    3.       Sphere’s Proof of Claim No. 358 shall be allowed, as of the Effective Date, 3

in the total amount of $10,000,000 (the “Allowed Claim”). The Allowed Claim shall receive the

treatment afforded to General Unsecured Claims4 set forth in the Fourth Amended Joint Chapter

11 Plan of Core Scientific, Inc. and Its Affiliated Debtors (Docket No. 1639) (including any

exhibits and schedules thereto and as may be supplemented, modified, or amended, the “Plan of



3
    As defined in the Plan of Reorganization.
4
    As defined in the Plan of Reorganization.

                                                       3
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Reorganization”). In the event that treatment of the Allowed Claim is materially and adversely

affected by an amended Plan of Reorganization, the Parties reserve all rights.

               4.      Sphere’s Proof of Claim No. 359 shall be deemed withdrawn with prejudice

upon the Effective Date.

               5.      Gryphon will cause its Motion for Leave to be withdrawn with prejudice on

the Effective Date and all deadlines in connection with the Motion for Leave were abated on

December 21, 2023, and remain abated unless and until the Parties request entry of a further order

from this Court.

               6.      The Debtors are authorized to enter into, execute, deliver, and implement

the terms of the Core-Sphere-Gryphon Settlement, as set forth herein and in the Term Sheet, as

agreed to by the Parties.

               7.      Upon the Effective Date, the Sphere POCs, the Adversary Proceeding Claims,

and the Gryphon Contingent Claim shall be deemed fully and finally paid, satisfied, forever

released, discharged, and expunged, and Gryphon and Sphere shall be deemed to have granted a

complete and final release of all claims, whether legal or equitable, past, present, or future,

ascertained or unascertained, known or unknown, suspected or unsuspected, based in contract, tort

or otherwise against the Debtors, including any claims based upon, arising out of, or related to the

Master Services Agreement, Order #1, or Order #2, including any payments made thereunder, or

based upon, arising out of, or relating to the 634 miners decommissioned on December 18, 2023,

or the return or application of any prepayment made in connection therewith against the Debtors;

and the Debtors shall be deemed to have granted a complete and final release of all claims, whether

legal or equitable, past, present, or future, ascertained or unascertained, known or unknown,

suspected or unsuspected, based in contract, tort or otherwise against Sphere and Gryphon,



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including any claims based upon, arising out of, or related to the Master Services Agreement,

Order #1, or Order #2, including any payments made thereunder, or based upon, arising out of, or

relating to the 634 miners decommissioned on December 18, 2023, or the return or application of

any prepayment made in connection therewith (the above collectively referred to as the “Released

Claims”).

                 8.    Sphere and Gryphon as against the Debtors and the Debtors as against

Sphere and Gryphon, further covenant and agree not to sue, make, assert or maintain, directly or

indirectly any Released Claims or to bring, request, initiate or file any suit or action regarding the

Released Claims, all of which are released; provided, that the Parties shall retain their rights to file

and prosecute claims and causes of action related to the enforcement of the Core-Sphere-Gryphon

Settlement and nothing herein shall limit such rights.

                 9.    Nothing contained in the Term Sheet, the Motion, or this Order and none of

the Released Claims herein, including the Sphere POCs, the Adversary Proceeding Claims, and

the Gryphon Contingent Claim, constitute a release of any claims as between Gryphon and Sphere,

including but not limited to the claims and counterclaims pending in the District Court for the

Southern District of New York, Sphere 3D Corp. v. Gryphon Digital Mining, Inc., 1:23-cv-02954-

PKC, and all such claims as between Gryphon and Sphere are expressly reserved and unaffected

by this Order.

                 10.   The Debtors shall cause the Adversary Proceeding Claims to be dismissed,

with prejudice, as against both Gryphon and Sphere, within seven (7) business days of the Effective

Date. All deadlines in the Adversary Proceeding were abated on December 21, 2023, and remain

abated unless and until the Parties request entry of a further order from this Court.




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               11.     Sphere shall (a) vote or cause to be voted its Allowed Claim to accept the

Plan of Reorganization by delivering its duly executed and completed ballot or ballots, as

applicable, accepting the Plan of Reorganization on a timely basis following the commencement

of the solicitation of the Plan of Reorganization and its actual receipt of the solicitation materials

and ballot, (b) not change or withdraw such vote (or cause or direct such vote to be changed or

withdrawn), and (c) to the extent it is permitted to elect whether to opt out of the releases set forth

in the Plan of Reorganization, agree to provide, and to not opt-out of, such releases. The

Confirmation Order shall not be inconsistent with the terms of the Core-Sphere-Gryphon

Settlement.

               12.     The Debtors are authorized to enter into, perform, execute, and deliver all

documents, and take all actions necessary or appropriate to immediately continue and fully

implement the Core-Sphere-Gryphon Settlement and carry out the relief granted in this Order. The

Parties shall do, execute, acknowledge and deliver all such further acts, instruments and assurances

and take all such further action as shall be necessary or desirable to fully implement the Core-

Sphere-Gryphon Settlement, carry out the relief granted in this Order and fully consummate and

effect the actions provided for in this Order.

               13.     Except as set forth in this Order, nothing contained in the Motion, this

Order, or any actions taken by the Debtors pursuant to the relief granted in the Order shall be

construed as: (a) an admission as to the validity of any claim against the Debtors, (b) a waiver or

limitation of the Debtors’ rights under the Bankruptcy Code or any other applicable law, or (c) an

approval of an assumption or rejection of any lease, sublease, or contract pursuant to section 365

of the Bankruptcy Code.




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               14.     The Parties are authorized to take all steps necessary or appropriate to carry

out the relief granted in this Order. To the extent that there is any inconsistency between the Term

Sheet and this Order, or between the Motion and this Order, the provisions of this Order will

govern.

               15.     The Parties will each be responsible for and pay their own legal fees, out-

of-pocket expenses, and costs in connection with the Sphere POCs, the Adversary Proceeding, the

Core-Sphere-Gryphon Settlement, the Hosting Agreements, the Motion for Leave, and the

chapter 11 cases of the Debtors pending in this Court.

               16.     This Order shall be immediately effective and enforceable upon its entry.

               17.     This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.


Dated:                         , 2024
         August16,
         Houston,
         January  02, 2019
                  Texas
                    2024




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                            Exhibit 1

                      Settlement Term Sheet
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                                            Settlement Term Sheet

This term sheet (this “Term Sheet”) sets forth the principal terms of the settlement (the
“Settlement”) among Core Scientific, Inc. and its debtor affiliates (collectively, “Core” or the
66
 Debtors”), Sphere 3D Corp. (“Sphere”), and Gryphon Digital Mining, Inc. (“Gryphon”) (each
of Core, Sphere, and Gryphon are referred to herein, individually, as a “Party” and, collectively,
as the “Parties”).

This Term Sheet and the terms set forth herein are binding upon, and inure to the benefit of, the
Parties, subject to the United States Bankruptcy Court for the Southern District of Texas (the
6G
 Bankruptcy Court”) entering the 9019 Order (as defined below).

THIS TERM SHEET OR THE SETTLEMENT IS NOT AN OFFER OR ACCEPTANCE WITH
RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF THE
PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY
SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE.
NOTHING CONTAINED IN THIS TERM SHEET OR SETTLEMENT SHALL BE AN
ADMISSION OF FACT OR LIABILITY OR, UNTIL ENTRY OF THE 9019 ORDER,
DEEMED BINDING ON ANY OF THE PARTIES TO THIS TERM SHEET OR
SETTLEMENT.


                   Term                                                   Description

     Allowed Claim                          Sphere has asserted pre-petition claims evidenced by Proofs
                                            of Claim Nos. 358 and 359 against Debtors Core Scientific,
                                            Inc. and Core Scientific Operating Company (the “Sphere
                                            POCs”). Upon the earlier of (A) entry of the 9019 Order and
                                            (B) the Effective Date, Core and Sphere agree that Proof of
                                            Claim No. 358 against Debtor Core Scientific, Inc., shall be
                                            allowed in the total amount of $10,000,000 (the “Allowed
                                            Claim”). The Allowed Claim shall receive the treatment
                                            afforded to General Unsecured Claims set forth in the Third
                                            Amended Joint Chapter 11 Plan of Core Scientific, Inc. and
                                            Its Affiliated Debtors (Docket No. 1438) (including any
                                            exhibits and schedules thereto and as may be supplemented,
                                            modified, or amended, the “Plan of Reorganization”).1
                                            Sphere’s Claim No. 359 shall be deemed withdrawn with
                                            prejudice upon the Effective Date.

                                            In the event that treatment of the Allowed Claim is materially

1 Capitalized terms used but not defined in this Term Sheet shall have the meaning ascribed to such terms in the Plan
of Reorganization.
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                                 and adversely affected by any amended                   Plan    of
                                 Reorganization, the Parties reserve all rights.

  Adversary Proceeding            On December 21, 2022, the Debtors each commenced a
                                  voluntary case under chapter 11 (collectively, the “Chapter
                                  11 Cases”) of title 11 of the United States Code, 11 U.S.C.
                                  §§ 101-1532, as amended (the “Bankruptcy Code”), in the
                                  United States Bankruptcy Court for the Southern District of
                                  Texas (the “Bankruptcy Court”). On November 21,2023,
                                  the Debtors filed an adversary complaint in these Chapter 11
                                  Cases against Sphere and Gryphon asserting claims (the
                                  “Adversary Proceeding Claims”) arising under the
                                  September 12, 2021 Master Services Agreement between
                                  Core and Gryphon (the “Master Services Agreement”),
                                  and the associated Orders #1 and #2. Adv. Pro. No. 23-
                                  03252 (the “Adversary Proceeding”).

  Gryphon Contingent Claim        On December 15, 2023, Gryphon filed a Motion for Leave
                                  to File Proof of Claim After Bar Date (Docket No. 1566),
                                  (the “Motion for Leave”) seeking permission to file a late
                                  proof of claim against the Debtors for contingent amounts
                                  owed by the Debtors pursuant to the Master Services
                                  Agreement and Orders #1 and #2, in the event that the
                                  Bankruptcy Court determined that Gryphon is the proper
                                  claimant with respect to the return of the prepayment (the
                                  66Gryphon Contingent Claim”).        On the Effective Date,
                                  Gryphon shall file a notice of withdrawal of the Motion for
                                  Leave, with prejudice. The Parties agree that upon execution
                                  of this Term Sheet any and all deadlines in connection with
                                  the Motion for Leave are abated unless and until the Parties
                                  request entry of a further order from the Bankruptcy Court,
                                  and such agreement shall be a provision in the 9019 Order.

  Parties’ Representations and    Sphere affirms, represents, and warrants to have complete
  Warranties                      authority to act on behalf of itself and any affiliates, and, in
                                  that capacity, to settle and/or release (i) the Sphere POCs;
                                  (ii) any other claims arising out of the Master Services
                                  Agreement, Order #1, and Order #2, including any and all
                                  claims with respect to any prepayment made in connection
                                  with the Master Services Agreement and any Order
                                  thereunder; (iii) all claims related to the Adversary
                                  Proceeding; and Gryphon affirms, represents, and warrants
                                  to have complete authority to act on behalf of itself and any
                                  affiliates, and, in that capacity to settle and/or release (i) the

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                                     Gryphon Contingent Claim, (ii) any other claims arising out
                                     of the Master Services Agreement, Order #1, and Order #2,
                                     including any and all claims with respect to any prepayment
                                     made in connection with the Master Services Agreement and
                                     any Order thereunder, and (iii) all claims related to the
                                     Adversary Proceeding. Sphere also represents and warrants
                                     that it has sole ownership and authority with respect to the
                                     500 miners identified within the gryphonspcore subaccount
                                     of the total 634 miners decommissioned on December 18,
                                     2023 and Gryphon represents that it has sole ownership and
                                     authority with respect to the 134 miners identified within the
                                     gryphoncore subaccount.

 Release of (i) Sphere Proofs of      Upon the Effective Date, the Sphere POCs, the Adversary
 Claim, (ii) claims arising out of    Proceeding Claims, and the Gryphon Contingent Claim shall
 the Master Services Agreement,       be deemed fully and finally paid, satisfied, forever released,
 Order #1, and Order #2, (iii) the    discharged, and expunged, and Gryphon and Sphere shall be
 Adversary Proceeding Claims,         deemed to have granted a complete and final release of all
 and (iv) the Gryphon Contingent      claims, whether legal or equitable, past, present, or future,
 Claim                                ascertained or unascertained, known or unknown, suspected
                                      or unsuspected, based in contract, tort or otherwise against
                                      the Debtors, including any claims based upon, arising out of,
                                      or related to the Master Services Agreement, Order #1, or
                                      Order #2, including any payments made thereunder, or
                                      based upon, arising out of, or relating to the 634 miners
                                      decommissioned on December 18, 2023, or the return or
                                      application of any prepayment made in connection therewith
                                      against the Debtors; and the Debtors shall be deemed to have
                                     granted a complete and final release of all claims, whether
                                      legal or equitable, past, present, or future, ascertained or
                                     unascertained, known or unknown, suspected or
                                     unsuspected, based in contract, tort or otherwise against
                                     Sphere and Gryphon, including any claims based upon,
                                     arising out of, or related to the Master Services Agreement,
                                     Order #1, or Order #2, including any payments made
                                     thereunder, or based upon, arising out of, or relating to the
                                     634 miners decommissioned on December 18, 2023, or the
                                     return or application of any prepayment made in connection
                                     therewith (the “Released Claims”). Sphere and Gryphon as
                                     against the Debtors and the Debtors as against Sphere and
                                     Gryphon further covenant and agree not to sue, make, assert
                                     or maintain, directly or indirectly any Released Claims or to
                                     bring, request, initiate or file any suit or action regarding the
                                     Released Claims, all of which are released; provided, that
                                     the Parties shall retain their rights to file and prosecute
                                     claims and causes of action related to the enforcement of this

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                                Settlement and nothing herein shall limit such rights.

  Gryphon-Sphere Claims         For the avoidance of doubt, nothing contained in this Term
                                Sheet, and none of the Released Claims herein, including the
                                claims relating to the Sphere POCs, Adversary Proceeding
                                Claims, and Gryphon Contingent Claim, constitute a release
                                of any claims as between Gryphon and Sphere, including but
                                not limited to the claims and counterclaims pending in the
                                District Court for the Southern District of New York, Sphere
                                3D Corp. v. Gryphon Digital Mining, Inc., 1:23-cv-02954-
                                PKC, all of which such claims as between Gryphon and
                                Sphere are expressly reserved and unaffected by this
                                Settlement.

 Debtors to Dismiss Adversary   Debtors shall cause the Adversary Proceeding to be
 Proceeding                     dismissed with prejudice as to both Gryphon and Sphere,
                                within seven (7) business days of the Effective Date. The
                                Parties agree that upon execution of this Term Sheet any and
                                all deadlines in the Adversary Proceeding are abated unless
                                and until the Parties request entry of a further order from the
                                Bankruptcy Court, and such agreement shall be a provision
                                in the 9019 Order.

 Plan Support                   Sphere agrees to (A) vote or cause to be voted its Allowed
                                Claim to accept the Plan of Reorganization by delivering its
                                duly executed and completed ballot or ballots, as applicable,
                                accepting the Plan of Reorganization on a timely basis
                                following the commencement of the solicitation of the Plan
                                of Reorganization and its actual receipt of the solicitation
                                materials and ballot, (B) not change or withdraw such vote
                                (or cause or direct such vote to be changed or withdrawn),
                                and (C) to the extent it is permitted to elect whether to opt
                                out of the releases set forth in the Plan of Reorganization,
                                agree to provide, and to not opt-out of, such releases. To the
                                extent the 9019 Order is not entered, Sphere reserves all
                                rights to modify its vote after the voting deadline.

                                The Debtors agree that the Confirmation Order shall not be
                                inconsistent with the terms of the Settlement.____________
 Attorneys’ Fees                The Parties will each be responsible for and pay their own
                                legal fees, out-of-pocket expenses, and costs in connection
                                with the Sphere POCs, the Adversary Proceeding, the Master
                                Services Agreement, Order #1, and Order #2, and the
                                Chapter 11 Cases of the Debtors pending in the Bankruptcy
                                Court.
                                                                                            J

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               Approval of the Term Sheet               The Debtors will file a motion, on an emergency basis,
                                                        seeking entry of an order of the Bankruptcy Court approving
                                                        the terms set forth in this Term Sheet in a form reasonably
                                                        acceptable to all parties (such order, the “9019 Order”).
                                                        The Debtors will seek entry of the 9019 Order by the
                                                        Bankruptcy Court at or before the Confirmation Hearing.

               Binding Effect                           This Term Sheet and the terms hereof are legally binding
                                                        upon, and inure to the benefit of, the Parties upon execution
                                                        of the Term Sheet by the Parties, subject to entry of the 9019
                                                        Order.



            IN WITNESS WHEREOF, duly authorized members of the Parties have executed this Term
            Sheet as of December 21, 2023.




                                                                      SPHERE 3D CORP.
                                                                           A----- DocuSigned by:



                                                                      By
                                                                              Patvida
                                                                                 •
                                                                                       Trompetur
                                                                                     AEDANCB3616E42n._____
                                                                                4ED4QCB3616E42D
                                                                      Name: Patricia Trompeter
                                                                      Title: CEO


                                                                      CORE SCIENTIFIC, INC.


                                                                      By:
                                                                      Name:
                                                                      Title:




                                                                      GRYPHON DIGITAL MINING, INC.


                                                                      By:
                                                                      Name:
                                                                      Title:



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  Approval of the Term Sheet     The Debtors will file a motion, on an emergency basis,
                                 seeking entry of an order of the Bankruptcy Court approving
                                 the terms set forth in this Term Sheet in a form reasonably
                                 acceptable to all parties (such order, the “9019 Order”).
                                 The Debtors will seek entry of the 9019 Order by the
                                 Bankruptcy Court at or before the Confirmation Hearing.

  Binding Effect                 This Term Sheet and the terms hereof are legally binding
                                 upon, and inure to the benefit of, the Parties upon execution
                                 of the Term Sheet by the Parties, subject to entry of the 9019
                                 Order.



IN WITNESS WHEREOF, duly authorized members of the Parties have executed this Term
Sheet as of December 21, 2023.




                                               SPHERE 3D CORP.


                                               By:
                                               Name:
                                               Title:


                                               CORE SCIENTIFIC, INC.
                                                        DocuSigned by:
                                                   (
                                                    Tod DnChene
                                               By: —43048BB7D89C4FE
                                               Name:.Todd Duchene
                                               Title: Chief Legal Officer




                                               GRYPHON DIGITAL MINING, INC.


                                               By:
                                               Name:
                                               Title:



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               Approval of the Term Sheet             The Debtors will file a motion, on an emergency basis,
                                                      seeking entry of an order of the Bankruptcy Court approving
                                                      the terms set forth in this Term Sheet in a form reasonably
                                                      acceptable to all parties (such order, the “9019 Order”).
                                                      The Debtors will seek entry of the 9019 Order by the
                                                      Bankruptcy Court at or before the Confirmation Hearing.

               Binding Effect                         This Term Sheet and the terms hereof are legally binding
                                                      upon, and inure to the benefit of, the Parties upon execution
                                                      of the Term Sheet by the Parties, subject to entry of the 9019
                                                      Order.



            IN WITNESS WHEREOF, duly authorized members of the Parties have executed this Term
            Sheet as of December 21, 2023.



                                                                    SPHERE 3D CORP.


                                                                    By:
                                                                    Name:
                                                                    Title:


                                                                    CORE SCIENTIFIC, INC.


                                                                    By:
                                                                    Name:
                                                                    Title:




                                                                    GRYPHON DIGITAL MINING, INC.


                                                                    By:   Kolslou Caws
                                                                          Robb Chang 0
                                                                    Name: Robby
                                                                    Title: CEO & Di rector




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